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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                             )
TIKTOK INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )    Civil Action No. 1:20-CV-2658-CJN
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)


                              NOTICE OF SUPPLEMENTATION OF
                                 ADMINISTRATIVE RECORD

       As set forth in the attached Supplemental Declaration of John Costello, Defendants hereby

provide notice that they have supplemented the Administrative Record in this case with certain

documents reflecting communications between the Department of Commerce and representatives

of Plaintiffs, stamped as Pages AR-2231 through AR-2251. These documents were inadvertently

omitted from the Administrative Record as certified on October 5, 2020. See ECF No. 33. Copies

will be separately provided to Plaintiffs today. Further, because these documents (and other

portions of the Administrative Record) may contain Plaintiffs’ confidential business information,

Defendants will confer with Plaintiffs about how best to submit these documents, along with the

other cited portions of the Administrative Record, to the Court consistent with Local Civil

Rule 7(n)(1)-(2).

Dated: October 29, 2020                     Respectfully submitted,

                                            JEFFREY BOSSERT CLARK
                                            Acting Assistant Attorney General
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